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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
HOGUET NEWMAN REGAL & KENNEY, :
LLP,                                                      :
                                                          :
                                         Plaintiff,       :              21-CV-1048 (VSB)
                                                          :
                           -against-                      :                  ORDER
                                                          :
DAN LOWE,                                                 :
                                                          :
                                         Defendant. :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

         On November 12, 2021, I held a conference in this matter on the order to show cause

regarding the entry of a default judgment against Defendant. (Doc. 21.) Defendant Dan Lowe

appeared and discussed circumstances under which this matter might be resolved without the

need for entry of judgment. Accordingly, and as I discussed during the November 12, 2021

conference, it is hereby

         ORDERED that I shall hold another conference in this matter on December 3, 2021 at 4

p.m, regarding the status of this action. The conference will be held via telephone, using the

dial-in 888-363-4749 and the access code 2682448.

SO ORDERED.

Dated:       November 15, 2021
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
